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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF ILLINOIS

                                   MINUTES OF DISPOSITION

[ ] BENTON      [X] EAST ST. LOUIS                           [X] CONTESTED              [ ] UNCONTESTED


U.S.A. v. JOHN ROBERT EDDY                          CRIMINAL NO. 12-30082-WDS

DEFT. COUNSEL: ERIC BUTTS                           JUDGE:      WILLIAM D. STIEHL

GOVT. COUNSEL: NATHAN STUMP                         DATE: 1/30/13              TIME: 11:00 AM - 11:40 AM

REPORTER: DAVEANNA JOHNSON                          DEPUTY:      CHERYL RITTER


  X   COURT ORDERS PRE-SENTENCE REPORT TO BE SEALED WITH COUNSEL HAVING ACCESS
TO SAME IN THE EVENT OF APPEAL. RECOMMENDATION TO BE PLACED UNDER SEPARATE SEAL
AND COUNSEL WILL NOT HAVE ACCESS TO SAME.

COURT’S RULINGS ON OBJECTIONS TO PRE-SENTENCE REPORT: (No Objections)

AMOUNT OF FUNDS AMOUNTING TO DEFENDANT’S RELEVANT CONDUCT IS $141,791.16

OFFENSE LEVEL:  21       CRIMINAL HISTORY CATEGORY: V
SENTENCE RANGE: 70 - 87 Months FINE RANGE: $7,500.00 - $75,000.00
SUPERVISED RELEASE RANGE: 2 - 5 years

COURT [X] ACCEPTS [ ] REJECTS PLEA AGREEMENT

DEFENDANT’S WITNESS: LARRY BURNELL (11:10 AM - 11:19 AM)

CUSTODY OF [ ] ATTORNEY GENERAL [X] BUREAU OF PRISONS

SENTENCE:      60 Months imprisonment on Count 1.

UPON RELEASE FROM IMPRISONMENT, DEFENDANT PLACED ON SUPERVISED RELEASE FOR
5 Years on Count 1.

CONDITIONS OF SUPERVISION:

[X]    Within 72 hours of release from BOP, defendant to report to probation in district released.

[X]    The defendant shall cooperate in the collection of DNA as directed by the probation officer.

[X]    Defendant shall not commit any further crimes.

[X]    Defendant shall not illegally possess any controlled substances.

[X]    Defendant shall not possess firearm or other destructive device.

[X]    Defendant shall submit within 15 days for drug urinalysis.
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[X]   The defendant shall participate, as directed and approved by the probation officer, in treatment for narcotic
      addiction, drug dependence or alcohol dependence, which includes urinalysis or other drug detection
      measures and which may require residence and/or participation in a residential treatment facility. Any
      participation will require complete abstinence from all alcoholic beverages. Defendant shall pay for the
      costs associated with substance abuse counseling and/or testing based on a co-pay sliding fee scale as
      directed and approved by the U. S. Probation Office. Co-pay shall never exceed the total costs of
      counseling.

[X]   The defendant shall not incur new credit charges or open additional lines of credit without the approval of
      the probation officer.

[X]   The defendant is prohibited from engaging in an occupation, business, or profession bearing a reasonably
      direct relationship to telemarketing.

MONETARY PENALTIES:

[X]   SPECIAL ASSESSMENT $ 100.00 ON EACH OF COUNT(S)                         1
      TOTAL $100.00    DUE IMMEDIATELY.

[X]   FINE $ (Waived)        ON EACH OF COUNT(S) 1

[X]   RESTITUTION IS NOT ORDERED IN THIS CASE

[X]   COURT FINDS DEFENDANT’S FINANCIAL CONDITION IS SUCH THAT HE IS UNABLE TO:
      [ ] PAY RESTITUTION, [X] PAY A FINE, [X] PAY COSTS OF INCARCERATION OR
      SUPERVISION AND THEY ARE WAIVED.

[X]   DEFENDANT ADVISED OF RIGHT TO APPEAL.

[X]   RECOMMENDATION THE DEFENDANT BE PLACED AT FCI MIAMI AND THAT HE BE PLACED
      IN THE RESIDENTIAL DRUG ABUSE PROGRAM.

[X]   BOND CONTINUED AND
      [ ] DEFENDANT IS TO SURRENDER TO USMS ON
      [X] DEFENDANT IS TO SURRENDER AS NOTIFIED BY USMS TO DESIGNATED INSTITUTION




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